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05/2023                     Case 2:24-cv-01784-MRP                            Document 1                 Filed 04/26/24                 Page 2 of 10
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff:         2122 South 17th Street, Apt. #2 Philadelphia, PA 19145
                              1515 Arch Street Philadelphia, PA 19102
    Address of Defendant:_______________________________________________________________________________________
                                                 2300 Block of South Bouvier Street Philadelphia, PA 19145
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes             No
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No
      I certify that, to my knowledge, the within case                 is /      is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE:                                    ____________________________________                                                      313849
                                                                                                                               ________________________________
                April 26, 2024
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                                _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

         Noah S. Cohen, Esquire
      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                          Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                          Relief other than monetary damages is sought.


            April 26, 2024
      DATE: ____________________________                              ______________________________________                                      313849
                                                                                                                                        __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
          Case 2:24-cv-01784-MRP          Document 1        Filed 04/26/24       Page 3 of 10




                          IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
   RONNIE LISTER,                                     :
                           Plaintiff
                                                      :   CIVIL ACTION NO. 2:24 -1784
                                                      :
                                                      :
                          v.
                                                      :
                                                      :   JURY TRIAL DEMANDED
   CITY OF PHILADELPHIA,
                                                      :
   OFFICER REGINALD GRAHAM,
                                                      :
   Badge Number 6214, individually and as a
                                                      :
   police officer for the City of Philadelphia,
                                                      :
   JOHN DOES 1-4, Police Officers,
                                                      :
   Badge Numbers Unknown, individually and
                                                      :
   as Police Officers for the City of Philadelphia,
                                                      :
   c/o Law Department
                                                      :
   1515 Arch Street
                                                      :
   Philadelphia, PA 19102,
                                                      :
                                                      :
                           Defendants
                                                      :


                                            COMPLAINT

                                 I. PRELIMINARY STATEMENT

          1. Plaintiff Ronnie Lister brings this action under 42 U.S.C. §1983 seeking redress for the

extraordinary misconduct of former police officer Reginald Graham, and of as yet unknown officers,

who manufactured evidence to cause Mr. Lister’s arrest, prosecution, and imprisonment for a crime

he did not commit. The actions and conduct of Graham and the unknown officers were the result of

constitutionally deficient policies and practices of the City of Philadelphia.

                                        II. JURISDICTION

          2. This action is brought pursuant to 42 U.S.C. §1983. Jurisdiction is founded upon 28

U.S.C. §§1331 and 1343(1), (3), (4) and the aforementioned statutory provision. Plaintiff further

invokes the supplemental jurisdiction of this Court under 28 U.S.C. §1367(a) to adjudicate state law

claims.
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                                           III. PARTIES

       3. Plaintiff Ronnie Lister is a resident of Philadelphia, Pennsylvania and at all times relevant

to this action was in the Eastern District of Pennsylvania.

       4. Defendant City of Philadelphia is a municipality of the Commonwealth of Pennsylvania

and owns, operates, manages, directs and controls the Philadelphia Police Department which at all

times relevant to this action employed defendant Graham and as of yet unknown officers.

       5. Defendant Reginald Graham was at all times relevant to this Complaint a police officer

for the Philadelphia Police Department acting under color of state law. The defendant officer is being

sued in his individual capacity.

       6. Defendant John Does 1-4, Badge numbers unknown, are and were at all times relevant

to this Complaint, police officers for the City of Philadelphia, acting under color of state law. They

are being sued in their individual capacity.

       7. At all relevant times, defendants Graham and the John Doe officers (“the defendant

officers”), acting in concert and conspiracy and under color of state law, deprived the plaintiff of his

constitutional and statutory rights.

                                   IV. FACTUAL ALLEGATIONS

       8. On December 13, 2011, Ronnie Lister was in the area of the 2300 block of South Bouvier

Street in Philadelphia.

       9.      There were no drugs or contraband in his possession.

       10. On that date at about 2:00 p.m. the defendant officers, without cause or justification,

arrested Mr. Lister on criminal charges alleging the delivery of controlled substances and related

offenses.


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         Case 2:24-cv-01784-MRP                Document 1   Filed 04/26/24      Page 5 of 10



          11. The defendant officers provided false, misleading and incomplete information to other

 Philadelphia police officers and officials, and to the Philadelphia District Attorney’s Office in an

 effort to justify the arrest of Mr. Lister.

         12. The arrest of Mr. Lister was without probable cause.

         13. As a direct result of the actions and conduct of the defendant officers, and without cause

or justification, Mr. Lister was arrested and charged with possession with intent to deliver a

controlled substance and related offenses.

          14. Mr. Lister appeared for his arraignment and was held in lieu of bail in the amount of

 $5,000.00. Mr. Lister was unable to post bail and was sent to the County jail.

          15. Mr. Lister was arrested, charged and remanded into custody because the defendant

 officers willfully manufactured evidence, provided false and misleading information and testimony,

 and ignored or concealed available exculpatory evidence, all of which negated and tainted any

 finding of probable cause to believe that Mr. Lister had committed a crime.

          16. As a result of the actions and conduct of the defendant officers, Ronnie Lister was held

 in custody for several days, and subsequently was placed on probation for three years, and lost

 multiple employment opportunities for a crime that he did not commit and that the defendant

 officers knew he did not commit.

          17. Defendant Graham also testified falsely at Mr. Lister’s preliminary hearing on March

 7, 2012 that Mr. Lister received money from an individual named Gerald Berry on December 13,

 2011.

         18. On August 12, 2022, all charges brought against Mr. Lister were nolle prossed on

motion of the District Attorney of Philadelphia County based on a finding that the defendant officers’

account of the circumstances surrounding Mr. Lister’s arrest were not credible.
                                               3
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        19.    At no time did Mr. Lister engage in any actions or conduct that justified his arrest,

detention and prosecution.

        20. The unlawful arrest, detention and prosecution in this case were caused by the City’s

failure to properly train, supervise and discipline police officers, particularly officers who have

engaged in repeated misconduct that has caused constitutional violations.

        21. Defendant officers acted willfully, deliberately, maliciously or with reckless disregard

of the plaintiff’s constitutional and statutory rights.

        22. As a direct and proximate result of the actions of all defendants, the plaintiff suffered

severe psychological harms, prolonged incarceration, pain and suffering, damage to reputation, some

or all of which may be permanent, as well as loss of employment and other financial losses.

        23. All defendants engaged in the above conduct by subjecting plaintiff to unlawful

prosecution.

                                  FIRST CAUSE OF ACTION
                             FEDERAL CIVIL RIGHTS VIOLATIONS

        24. Plaintiff incorporates by reference paragraphs 1-23 of the instant Complaint.

        25. As a direct and proximate result of all defendants’ conduct, committed under color of

state law, plaintiff Ronnie Lister was deprived of the right to be free from a malicious prosecution.

As a result, the plaintiff suffered and continue to suffer harm in violation of his rights under the laws

and Constitution of the United States and 42 U.S.C. §1983.

        26. As a direct and proximate result of the acts of all defendants, the plaintiff sustained

injuries, emotional harm, loss of liberty and financial losses, all to his detriment and harm.

         27. Defendant City of Philadelphia, by its final policy makers, has encouraged, tolerated,



                                                     4
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ratified and has been deliberately indifferent to the following patterns, practices and customs and

to the need for more or different training, supervision, investigation or discipline in the areas of:

            a.     Unlawful detentions, unlawful arrests and malicious prosecutions by police
                   officers;

            b.     The proper exercise of police powers, including but not limited to unlawful
                   arrest, unlawful detention, and malicious prosecution;

            c.     The fabrication and deliberate concealment of material evidence by police
                   officers;

            d.     The monitoring of officers whom it knew or should have known were
                   suffering from emotional and/or psychological problems that impaired their
                   ability to function as officers;

            e.     The failure to identify and take remedial or disciplinary action against police
                   officers who were the subject of prior civilian or internal complaints of
                   misconduct;

            f.     Police officers’ use of their status as police officers to employ unlawful
                   arrests and malicious prosecutions, invoke the Code of Silence, or to
                   achieve ends not reasonably related to police duties;

            g.     The failure of police officers to follow established policies, procedures,
                   directives and instructions regarding the use of arrest powers under such
                   circumstances as presented in this case; and

            h.     The refusal of police officers to report or provide information concerning the
                   misconduct of other police officers, a custom or practice known as the “Code
                   of Silence.”

        28. The individual defendants, acting within the scope of their employment and under

color of state law, agreed among themselves and with other individuals, to act in concert in order

to deprive Mr. Lister of his clearly established right to be free from deprivation of liberty without

due process of law, and to a fair trial.

        29. In furtherance of the conspiracy, the defendants engaged in and facilitated numerous

overt acts, including, but not limited to the following:
                                                  5
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               a.     Fabricating evidence, planting evidence, tampering with evidence, and using
                      coercion and/or threats to obtain incriminating statements; and
              b.      Deliberately deceiving counsel and the court by concealing and/or withholding
                      relevant and material evidence, fabricating evidence, tampering with evidence,
                      and using coercion and/or threats to obtain inculpatory statements.

        30. Defendants’ acts and omissions, as described above, were the direct and proximate

cause of Mr. Lister’s injuries. Defendants knew, or should have known, that their conduct would

result in Mr. Lister’s denial of due process and a fair trial.

        31. Defendant City of Philadelphia, by its final policy makers, failed to properly sanction

or discipline officers, who are aware of and conceal and/or aid and abet violations of constitutional

rights of individuals by other Philadelphia police officers, thereby causing and encouraging

Philadelphia police, including the defendant officer in this case, to violate the rights of citizens

such as the plaintiff.

        32.        Defendant City of Philadelphia, by its final policy makers, is deliberately indifferent

to the need to train, supervise and discipline police officers. The Internal Affairs Division (IAD)

of the Philadelphia Police Department (PPD) fails to provide an internal disciplinary mechanism

that imposes meaningful disciplinary and remedial actions in the following respects:

              a.      There are excessive and chronic delays in resolving disciplinary complaints;

              b.      There is a lack of consistent, rational and meaningful disciplinary and remedial
                      actions;

              c.      There is a failure to effectively discipline substantial numbers of officers who
                      were found to have engaged in misconduct;

              d.      The PPD’s internal investigatory process has fallen below accepted practices and
                      is arbitrary and inconsistent;

              e.      The PPD discipline, as practiced, is incident based rather than progressive. Thus,
                      repeat violators are not being penalized in proportion to the number of violations;


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              f.      The conduct of IAD investigations demonstrates that PPD internal affairs
                      personnel are not adequately trained and supervised in the proper conduct of such
                      investigations;

              g.      A global analysis of IAD’s investigatory procedures indicates a pattern of
                      administrative conduct where the benefit of the doubt is given to the officer rather
                      than the complainant;

              h.      There are serious deficiencies in the quality of IAD investigations and the validity
                      of the IAD findings and conclusions;

              i.      The PPD lacks an effective early warning system to identify, track and monitor
                      “problem” officers;

              j.      Despite the fact that defendant Graham had amassed an exceptionally large
                      number of serious misconduct complaints in only a few years on the force, the
                      officers stayed well below the radar of an early warning system;

              k.      Despite multiple prior complaints and lawsuits against defendant Graham, the
                      great majority of which involved abuses of police authority, the PPD took no
                      meaningful disciplinary or remedial actions, and no meaningful steps to more
                      closely monitor, retrain and supervise the officer;

              l.      The PPD did nothing to respond meaningfully to the red flags evidenced in the
                      aggregate performances of defendant Graham; and

              m.      IAD frequently fails to interview available eyewitnesses to incidents involving
                      citizen complaints of misconduct. The interviews that are conducted by IAD
                      are below acceptable standards of police practice and fail to address key issues
                      in the cases.

        33. Defendant City of Philadelphia, by its final policy makers, is deliberately indifferent

to the need to train, supervise and discipline police officers and has failed to ensure that there is an

effective internal disciplinary system.

        34.        Defendants have by the above-described actions deprived the plaintiff of rights

secured by the United States Constitution in violation of 42 U.S.C. §1983.




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                               SECOND CAUSE OF ACTION
                             SUPPLEMENTAL STATE CLAIMS

        35. Plaintiff incorporates by reference paragraphs 1-34 of the instant Complaint.

        36. The acts and conduct of defendant officers in this cause of action constitute malicious

prosecution under the laws of the Commonwealth of Pennsylvania, and this Court has

supplemental jurisdiction to hear and adjudicate these claims.

                                       JURY DEMAND

        37. Plaintiff demands a jury as to each cause, claim and defendant.

WHEREFORE, the plaintiff requests judgement in his favor and the following relief:

        a. Compensatory damages as to all defendants;

        b. Punitive damages as to the individual defendants;

        c. Reasonable attorney’s fees and costs as to all defendants; and

        d. Such other declaratory and further relief as appears reasonable and just.



                                                 S/ Noah Cohen
                                                Noah Cohen
                                                PA BAR ID No. 313849
                                                Weir Greenblatt Pierce LLP
                                                1339 Chestnut Street, Suite
                                                500 Philadelphia, Pa. 19107
                                                (215) 241-7766
                                                Counsel for Plaintiff Ronnie Lister




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